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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                          Tallahassee Division

AUGUST DEKKER, legally known as               )
KORI DEKKER; BRIT ROTHSTEIN;                  )
SUSAN DOE, a minor, by and through            )    Civil Action No.
her parents and next friends, JANE            )    4:22-cv-00325-RH-MAF
DOE and JOHN DOE; and K.F., a                 )
minor, by and through his parent and          )
next friend, JADE LADUE,                      )
                                              )
                                  Plaintiffs, )
v.                                            )
                                              )
SIMONE MARSTILLER, in her                     )
official capacity as Secretary of the         )
Florida Agency for Health Care                )
Administration; and FLORIDA                   )
AGENCY FOR HEALTH CARE                        )
ADMINISTRATION,                               )
                           Defendants.        )
____________________________________)

    Declaration of Julie Framingham In Support of Defendants’ Opposition to
                   Plaintiffs’ Motion for Preliminary Injunction

I, Julie Framingham, declare as follows:

      1.     I am over the age of 18 years and am not a party to this action. I have

actual knowledge of the following facts and if called upon to testify to them could

and would do so competently. I am submitting this Declaration in support of

Defendants’ opposition to Plaintiffs’ Motion for Preliminary Injunction and

Complaint.



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      2.     Florida’s Rule 59G-1.050(7) of the Florida Administrative Code (the

“Challenged Exclusion”) states that Florida Medicaid does not does not provide

coverage for hormonal and surgical interventions to “alter primary or secondary

sexual characteristics.”

      3.     Florida’s Rule will protect vulnerable young people like my son from

grievous harm. This rule will prevent the State from facilitating further harm to

vulnerable young people like my son by paying for life-altering and irreversible

treatments that will not address their underlying mental health issues and will likely

cause such young people to forego needed mental health treatment.

      4.     My son, T., was an Eagle Scout, martial arts student who at age 22

decided he was transgender. After six years of social transitioning and hormone

treatments T. has lost a great deal of weight, is anorexic and extremely underweight,

sometimes not eating for days, and has significant mental health problems.

      5.     T. was depressed as a teenager. He kept his feelings inside and wouldn’t

see a therapist. T. was not comfortable with his looks and was seen as a geeky, small

boy. He showed signs that he hated himself, including refusing to brush his teeth so

that they rotted away.

      6.     There were trans-identified kids at T.’s high school but he showed no

interest in them at that time. He attended community college in Tallahassee and




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Florida State University, which were very progressive campuses. He was around

others who were trans-identifying.

      7.     At age 19 or 20 T. began wearing girls’ accessories. He saw a social

worker in Tallahassee for a couple of months, and she gave him information about

where to get hormone treatments.

      8.     He began taking estrogen and spirolactone (lowers testosterone). He got

the prescriptions from an endocrinologist at Tallahassee Memorial Hospital and the

FSU medical group. I do not know whether any of the practitioners did a

psychological evaluation prior to prescribing hormones.

      9.     T. was binding his testicles for a time in an effort to appear more

feminine. However, he developed health problems related to the binding in that it

cut off oxygen and permitted infection to develop. As a result T. stopped binding

and began to just wear loose-fitting clothing.

      10.    T. began seeing a therapist when he was 23. He said the therapist was

very helpful with dealing with anxiety, but T. refused to talk with the therapist about

this trans identity. T. had spent a lot of time online listening to trans advocates who

affirmed his trans identity and he would not stay in therapy.

      11.     The therapist diagnosed T. with borderline personality disorder.

Patients with borderline personality disorder often hate themselves and will engage




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in self-harm. She explained that T. had let his teeth rot away because he hates

himself.

        12.   T. has not undergone any surgeries because he hasn’t been able to pay

them.

        13.   T. has not received any treatment for his underlying borderline

personality disorder. His father and I are concerned that if the state were to pay for

surgery to remove his penis and testicles he will not get the treatment he needs for

his actual underlying mental illness. That is a great concern because so long as he

has untreated mental illness he will continue to engage in self-destructive behavior

and to decline. The trans identification and hormone interventions operate as a

vehicle for self-harm. Adding irreversible surgery on top of that would only

compound the harm.

        14.   Florida’s Rule 59G-1.050(7) will prevent the state from enabling

vulnerable young people like my son to receive life-altering irreversible treatments

that result in the loss of healthy body parts and bodily functions and yet will not

actually treat what is causing their mental health problems. We are concerned that

without this Rule underlying mental health issues such young people are

experiencing will go untreated.

        15.   For T. and many others like him, the regulation would very likely save

their lives and a life-time of regret.


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I declare under penalty of perjury that the foregoing is true and correct.

Dated: October 3, 2022.

                                        /s/ Julie Framingham
                                        Julie Framingham




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